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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


  In re:                                               Chapter 11

  PRIME TRUST, LLC,                                    Case No. 23-11162(JKS)

                    Debtor.


                     MOTION AND ORDER FOR ADMISSION PRO HAC VICE

         Pursuant to Local Rule 9010-1 and the attached certification, counsel moves the admission pro hac
vice of David M. Neumann of the law firm Meyers, Roman, Friedberg & Lewis to represent Coinbits, Inc.
in the above-captioned case.

Dated: September 28, 2023                                  THE ROSNER LAW GROUP LLC
                                                           /s/ Frederick B. Rosner
                                                           Frederick B. Rosner (DE 3995)
                                                           824 N. Market Street, Suite 810
                                                           Wilmington, Delaware 19801
                                                           Tel: (302) 777-1111
                                                           Email: rosner@teamrosner.com

                CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

         Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, am admitted,
practicing and in good standing as a member of the Bar of the State of Ohio and Massachusetts, and submit
to the disciplinary jurisdiction of this Court for any alleged misconduct which occurs in the preparation or
course of this action. I also certify that I am generally familiar with this Court’s Local Rules and with the
Standing Order for District Court Fund revised 9/1/16. I further certify that the annual fee of $25.00 has
been paid to the Clerk of Court for the District Court.

Dated: September 28, 2023                                  /s/ David M. Neumann
                                                           David M. Neumann
                                                           Meyers, Roman, Friedberg & Lewis
                                                           28601 Chagrin Boulevard, Suite 600
                                                           Cleveland, Ohio 44122
                                                           Tel: (216) 285-2920
                                                           Email: dneumann@meyersroman.com


                                     ORDER GRANTING MOTION

           IT IS HEREBY ORDERED that counsel’s motion for admission pro hac vice is granted.




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